Case: 4:20-cv-01227-JAR Doc. #: 1-16 Filed: 09/10/20 Page: 1 of 7 PageID #: 1973




                           Exhibit M
Case: 4:20-cv-01227-JAR Doc. #: 1-16 Filed: 09/10/20 Page: 2 of 7 PageID #: 1974
Case: 4:20-cv-01227-JAR Doc. #: 1-16 Filed: 09/10/20 Page: 3 of 7 PageID #: 1975
Case: 4:20-cv-01227-JAR Doc. #: 1-16 Filed: 09/10/20 Page: 4 of 7 PageID #: 1976
Case: 4:20-cv-01227-JAR Doc. #: 1-16 Filed: 09/10/20 Page: 5 of 7 PageID #: 1977
Case: 4:20-cv-01227-JAR Doc. #: 1-16 Filed: 09/10/20 Page: 6 of 7 PageID #: 1978
Case: 4:20-cv-01227-JAR Doc. #: 1-16 Filed: 09/10/20 Page: 7 of 7 PageID #: 1979
